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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 17-20865-CR-MOORE(s)
18 U.S.C. § 1956(h)
18 U.S.C. § 1956(a)(3)(B)
18 U.S.C. § 982(a)(1)

 

 

 

 

| , .C.
UNITED STATES OF AMERICA FILED by Y=
vs. JUN 28 2018

See See
NADER MOHAMAD FARHBAT, CLERK OT
Defendant.
/

 

SUPERSEDING INDICTMENT
' The Grand Jury charges that:
COUNT 1
Beginning in and around March 2014, and continuing to on or about May 17, 2018, the
exact dates being unknown to the Grand Jury, in Miami-Dade County, in the Southern District of
Florida, and elsewhere, the defendant,
NADER MOHAMAD FARHAT,
did knowingly and willfully combine, conspire, and agree with other persons known and unknown
to the Grand Jury to commit offenses in violation of Title 18, United States Code, Section 1956,
that is, to knowingly conduct a financial transaction affecting interstate and foreign commerce
involving property, that is, funds and monetary instruments, including United States currency,
represented by an individual acting at the direction of, and with the approval of, law enforcement
officers to be proceeds of a specified unlawful activity, with the intent to conceal and disguise the

nature, location, source, ownership and control of property believed to be the proceeds of said
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specified unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(3)(B).

It is further alleged that the specified unlawful activity-was represented to be importing,
distributing, selling and otherwise dealing in a controlled substance, punishable under the laws of
the United States.

All in violation of Title 18, United States Code, Section 1956(h).

COUNTS 2-7

On or about the dates set forth below as to each count, in Miami-Dade and Broward

Counties, in the Southern-District of Florida, and elsewhere, the defendant,

NADER MOHAMAD FARHAT,
did knowingly conduct a financial transaction affecting interstate and foreign commerce involving
property, that is, funds and monetary instruments, including United States currency, represented
by an individual acting at the direction of, and with the approval of, law enforcement officers to
be proceeds of a specified unlawful activity, with the intent to conceal and disguise the nature,
location, source, ownership and control of property believed to be the proceeds of specified

unlawful activity:

 

 

 

 

 

‘Count Approximate Date of Approximate Financial Transaction
Financial Transaction Amount
2 November 18, 2014 $221,625 Wire transfer received ata
Citibank account in Broward
County, FL
3 September 14, 2015 $90,000 Wire transfer received at a
Citibank account in Broward
County, FL
4 September 15, 2015 $49,997.89 Wire transfer received at a
Citibank account in Broward
County, FL
5 September 18, 2015 $65,096 Wire transfer received at a
Citibank account in Broward .

 

 

 

 

 

 
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County, FL

 

6 September 20, 2015 $41,210 Wire transfer received at a
Citibank account in Broward
County, FL
7 December 14, 2015 $125,000 Delivery of cash in U.S. currency
by confidential informant to co-
conspirator, on behalf of the
defendant

 

 

 

 

 

 

 

It is further alleged that the specified unlawful activity was represented to be importing,
distributing, selling and otherwise dealing in a controlled substance, punishable under the laws of
the United States.

In violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

COUNT 8

From at least as early as in or around January 2013, through on or about May 1 7, 2018, in

Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant,

NADER MOHAMAD FARHAT,
did knowingly and willfully combine, conspire, confederate, and agree with other persons known
and unknown to the Grand Jury to commit offenses in violation of Title 18, United States Code,
Section 1956, that is:

(a) To knowingly conduct a financial transaction affecting interstate and foreign
commerce involving proceeds of a specified unlawful activity, knowing that the transaction was
designed in whole and in part to conceal and disguise the nature and source of the proceeds of the
specified unlawful activity, and that while conducting such financial transaction knew that the
property involved in the financial transaction represented the proceeds of some form of unlawful

activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i); and

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(b) To knowingly transmit and transfer monetary instruments and funds from a place
in the United States to and through a place outside the United States and to a place in the United
States from and through a place outside the United States with the intent to promote the carrying
on of specified unlawful activity, in violation of Title 18, United States Code, Section
1956(a)(2)(A).

It is further alleged that the specified unlawful activity is conducting an unlicensed money
transmitter business, in violation of Title 18, United States Code, Section 1960.

In violation of Title 18, United States Code, Section 1956(h).

FORFEITURE ALLEGATIONS

l. The allegations of this Superseding Indictment are re-alleged, and by this reference
fully incorporated herein for alleging criminal forfeiture to the United States of America of certain
property in which the defendant, NADER MOHAMAD FARHAT, has an interest.

2. - Uponconviction ofa violation of, ora conspiracy to violate, Title 18, United States’
Code, Section 1956, as alleged in this Superseding Indictment, the defendant shal! forfeit to the
United States of America, pursuant to Title 18, United States Code, Section 982(a)(1), any
property, real or personal, involved in such offense, or any property traceable to such property.

3. The property subject to forfeiture includes, but is not limited to, the following:

(i) Approximately $846,258 in U.S. dollars seized at Unique Cambios, S.A., on or about
May 17, 2018;

(11) Approximately $466,356 in Brazilian reais seized at Unique Cambios, S.A., on or
about May 17, 2018;

(iii) | Approximately $86,704.69 in Paraguayan guaranies seized at Unique Cambios,
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S.A., on or about May 17, 2018; and

(iv) | Approximately $6,366 in Argentinean pesos seized at Unique Cambios, S.A., on or
about May 17, 2018.

All pursuant to Title 18, United States Code, Section 982(a)( 1), and the procedures outlined
at Title 21, United States Code, Section 853.

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“yBEN AMIN G. ENBERG
NI ED STATBGJATTORNEY

 

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MICHAEL E. THAKUR
ASSISTANT UNITED STATES ATTORNEY
Case 1:17-cr-20865-RAR DOGuPeM &y Antes Ri ae ocket 06/28/2018 Page 6 of 7

SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASENO. ~- 17-20865-CR-Moore (s)

Vv.

CERTIFICATE OF TRIAL ATTORNEY*

 

 

 

NADER MOHAMAD FARHAT,
Defendant.
/ Superseding Case Information:
Court Division: (Select One) New Defendant(s) Yes No XW
Number of New Defendants
X__ Miami Key West Total number of counts 8

_ FIL WPB FTP

Ido hereby certify that:

1. ] have carefully considered the allegations of the indictment, the number of defendants, the number

of probable witnesses and the legal complexities of the Indictment/Information attached hereto.

2. | am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
Act, Title 28 U.S.C. Section 3161.

3. Interpreter: «(Yes or No) Yes

 

 

 

 

 

 

 

 

 

 

List language and/or dialect Arabic, Spanish
4, This case will take 5 days for the parties to try.
5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one} ,
I Q to5 days , Petty
U 6 to 10 days Xx Minor ,
ul II to 20 days Misdem.
IV 21 to 60 days Felony x
Vv 61 days and over
e. Has this case been previously filed in this District Court? (YesorNo) _ Yes
If yes:
Judge: Moore Case No. 17-20865-CR-Moore
(Attach copy of dispositive order)
tas a complaint been filed in this matter? (Yes or No) No
If yes: —_—_
Magistrate Case No.
Related Miscellaneous numbers:
Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of
Is this a potential death penalty case? (Yes or No) No
7. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
prior to October 14, 2003? Yes __ No
8. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to September 1, 2007? Yes No _X
MICHAEL THAKUR

ASSISTANT UNITED STATES ATTORNEY
Court No. A5501474

*Penalty Sheet(s) attached REV 5/3/17
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: NADER MOHAMAD FARHAT
Case No: 17-20865-CR-Moore (s)
Counts #: 1 and 8
Conspiracy to Commit Money Laundering
Title 18, United States Code, Section 1956(h)
*Max. Penalty: 20 Years’ Imprisonment
Counts #: 2-7
Money Laundering
Title 18, United States Code, Section 1956(a)(3)(B)

* Max. Penalty: 20 Years’ Imprisonment

Count #:

 

 

*Max. Penalty:

Count #:

 

 

* Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
. special assessments, parole terms, or forfeitures that may be applicable.
